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IN THE UNITED STATES BANKRUPTCY COURT
F()R THE DISTRICT OF DELAWARE

 

)
ln re: ) Chapter ll

)
KoNA GRILL, INC., er al.,l ) ease No. 19-10953 (css)

)
Debtors. ) (Jointly Administered)

)

 

INTERIM ORDER PURSUANT TO 11 U.S.C. §§ 105, 361, 362, 363, AND 364 AND
RULES 2002, 4001, AND 9014 OF THE FEDERAL RULES OF BANKRUPTCY
PROCEDURE (I) AUTHORIZING INCURRENCE BY THE DEBTORS OF
POSTPETITION SENIOR SECURED INDEBTEDNESS, (II) AUTHORIZING
USE OF CASH COLLATERAL BY THE DEBTORS, (III) GRANTING
ADEQUATE PROTECTION TO PREPETITION SECURED PARTIES, (IV)
MODIFYING THE AUTOMATIC STAY, AND (V) SCHEDULING A FINAL HEARING

Upon consideration of the motion (the “Motion”) of Kona Grill, Inc. (“Kona Grill”) and
its affiliated debtors, as debtors and debtors in possession (collectively, the “Debtors”) in the
above-captioned chapter ll cases (the “Cases”), pursuant to sections 105, 361, 362, 363 and 364
of title ll of the United States Code (the “Bankruptcy Code”), Rules 2002, 4001, 6004 and 9014
Of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rules 2002-1, 4001-
2 and 9013-l(m) of Bankruptcy Practice and Procedure of the United States Bankruptcy Court
for the District of Delaware (the “Local Rules”), seeking, among other things:

I. authorization for Kona Grill (the “Borrower”) to obtain postpetition financing
(the “Financing”) of up to $39,218,750.00 (the “DIP Facility” and the loans made thereunder,

the “DIP Loans”) on the terms and conditions set forth in this Interim Order and the Senior

Secured Superprion`ty DIP Credit Agreement (substantially in the form attached to the Motion as

 

l The Debtors and the last four digits of their respective taxpayer identification numbers include: Kona Grill, Inc.
(6690); Kona Restaurant Holdings, lnc. (6703); Kona Sushi, lnc. (4253); Kona Macadamia, Inc. (2438); Kona
Texas Restaurants, Inc. (4089); Kona Grill lnternational Holdings, Inc. (1841); Kona Baltimore, Inc. (9163); Kona
Grill International, Inc. (7911); and Kona Grill Puerto Rico, Inc. (7641). 'l`he headquarters and service address for
the above-captioned Debtors is 15059 North Scottsdale Road, Suite 300, Scottsdale, Arizona 85254.

 

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Exhibit B, and as hereafter amended, restated, amended and restated, supplemented, or otherwise
modified from time to time in accordance With the terms thereof and hereof, the “M__Cre_dit
Agreement,”2 together with all agreements, documents, certificates, and instruments delivered or
executed from time to time in connection therewith, each as hereafter amended, restated,
amended and restated, supplemented, or otherwise modified from time to time in accordance l
with the terms thereof and hereof, collectively, the “DIP Documents”), among the Debtors,
KeyBank National Association, acting as the administrative and collateral agent (in such
capacities, the “DIP Agent”), KeyBank National Association as a “new money” lender (in such
capacity, the “DIP Lender”), and ZB, N.A., d/b/a Zions First National Bank, as a Roll Up Loan
Lender (as defined in the DIP Credit Agreernent), secured by the Collateral (as defined below),
and authorization for each Debtor other than the Borrower to guarantee Borrower’s obligations
under the DlP Facility as a guarantor (collectively, with the Borrower, the “Credit Parties,” as
that term is defined in the DIP Credit Agreement) and for each Debtor to grant security interests
in the Collateral;

II. authorization to use the proceeds of the DIP Facility extended to the Borrower as
expressly provided in the DIP Docurnents and consistent with the Budget (as defined below)
(A) to pay certain costs, fees, and expenses related to the Cases as provided for in this Interim
Order and the DIP Documents, (B) following entry of this Interim Order, for $2,500,000 in
aggregate principal amount of Prepetition Indebtedness (as defined below) to be “rolled-up” into
the DlP Obligations and to allow a “creeping roll up” of additional Prepetition Indebtedness
outstanding under the Prepetition Credit Agreement pursuant to the procedures set forth below

and, upon entry of the Final Order, to convert the entire outstanding amount balance of the

 

2 Capitalized terms used but not defined herein shall have the meanings given to them in the Motion or the DIP

Credit Agreement, as applicable

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Prepetition Indebtedness into DIP Obligations, (C) to provide working capital and for other
general corporate purposes of the Debtors, and (D) to pay administration costs, fees and expenses
of these Cases and claims or amounts approved by the Bankruptcy Court;

III. authorization for the Debtors to execute and deliver the DIP Credit Agreement
and the other DIP Documents and to perform such other and further acts as may be necessary or
appropriate in connection therewith;

IV. that the Court grant to the DIP Lender and the DIP Agent in respect of the DIP
Loans, for the benefit of the DIP Agent, the DIP Lender and any other parties referred to in the
DIP Credit Agreement with respect to the respective DIP Obligations (as defined below), in
accordance with the relative priorities as set forth more fully below, and subject and subordinate
to the Carve Out (as defined below), the following:

a. pursuant to Bankruptcy Code section 364(0)(1), joint and several superpriority
allowed administrative expense claim status in the Cases;

b. pursuant to Bankruptcy Code section 364(c)(2), a first priority lien on all assets of
the Debtors, including all property of their respective estates in the Cases, whether
real or personal, tangible or intangible, now owned or hereafter acquired and all
proceeds, profits, rents, accessions, and substitutes thereof, that is not subject to
(i) valid, perfected, and non-avoidable liens in existence as of the Petition Date or
(ii) valid liens in existence as of the Petition Date that are perfected thereafter to
the extent permitted by Bankruptcy Code section 546(b);

c. pursuant to Bankruptcy Code section 364(d), a first priority, senior priming lien

on and security interest in all of the Debtors’ assets, including all property of their

respective estates in the Cases, whether real or personal, tangible or intangible,

 

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now owned or hereafter acquired, and all proceeds, profits, rents, accessions, and
substitutions thereof, that is subject to (y) valid, perfected and non-avoidable liens
in existence as of the Petition Date or (z) valid liens in existence as of the Petition
Date that are perfected thereafter to the extent permitted by Bankruptcy Code
section 546(b), provided, however, the priming lien shall prime only the liens
granted pursuant to the Prepetition Credit Agreement (defined below) and shall be
subject to (i) Permitted Liens, and (ii) the Carve Out (each as defined in the DIP
Documents or herein);

V. authorization for the DlP Agent to terminate the DIP Credit Agreement and to
terminate the Debtors’ use of Cash Collateral (defined below) upon the occurrence and
continuance of an Event of Default (as defined in the DIP Credit Agreement) on terms specified
herein and in the DIP Credit Agreement;

VI. subject to entry of the Final Order, authorization to grant liens to the DIP Lender
on the proceeds of the Debtors’ claims and causes of action arising under Banl<ruptcy Code
sections 544, 545, 547, 548, 549 and 550 (collectively, the “Avoidance Actions”);

VII. authorization for the Debtors to use, among other things, in accordance with the
Budget, any cash collateral (as that term is defined in Bankruptcy Code section 363(a) and
described below, the “Cash Collateral”) in which the Prepetition Secured Parties (as defined
below) may have an interest and the granting of adequate protection to the Prepetition Secured
Parties with respect to any diminution in value of their interests in the Prepetition Collateral (as
defined below) arising from, inter alia, the Debtors’ use of the Prepetition Collateral (including
Cash Collateral), the imposition of the automatic stay of Bankruptcy Code section 362, and the

priming of the liens of the Prepetition Secured Parties by the DIP Facility;

 

 

 

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VIII. subject to, and only effective upon, the entry of a Final Order granting such relief,
the waiver by the Debtors of any right to surcharge against the Collateral pursuant to Bankruptcy
Code section 506(c) or otherwise;

IX. the Court’s modification of the automatic stay imposed by Bankruptcy Code
section 362 to the extent necessary to implement and effectuate the terms and provisions of the
DIP Documents and this Interim Order;

X. the Court’s waiver of any applicable stay (including under Bankruptcy Rule 6004)
and providing for immediate effectiveness of this Interim Order;

XI. authorization that during the period (the “Interim Period”) commencing on the
date of this Court’s entry of this Interim Order and ending on the earlier of (a) the date this Court
enters the Final Order and (b) the occurrence of the Maturity Date, a portion of the Commitments
shall be borrowed by Borrower, subject to compliance with the terms, conditions, and covenants
contained in the DIP Documents, in an amount equal to $2,500,000; and

XII. the scheduling of a final hearing (the “Final Hearing”) to consider entry of the
Final Order granting the relief requested in the Motion on a final basis and authorizing the
balance of the borrowings under the DIP Documents on a final basis, as set forth in the Motion
and the DIP Documents filed with this Court and approving the Debtors’ notice with respect to
the Motion.

The hearing on the Motion (the “ nterim Hearing”) having been held by this Court on
May 2, 2019, pursuant to Bankruptcy Rules 2002, 4001(b)(2) and 4001(c)(2); and based upon all
of the pleadings filed with this Court, the evidence presented at the Interim Hearing and the
entire record herein; and this Court having heard and resolved or overruled any objections to the

interim relief requested in the Motion; and the Court having noted the appearances of all parties

 

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in interest; and it appearing that the relief requested in the Motion is in the best interests of the
Debtors, their estates, and creditors; and the Debtors having provided notice of the Motion as set
forth in the Motion, and it appearing that no other or filrther notice of the Motion need be given;
and after due deliberation and consideration, and sufficient cause appearing therefor:

lT IS FOUND, DETERMINED, ORDERED AND ADJUDGED, that:

1. Jurisdiction. This Court has jurisdiction over these Cases, this Motion, the
parties, and the Debtors’ property pursuant to 28 U.S.C. § 1334. This is a core proceeding
pursuant to 28 U.S.C. § 157(b)(2)(D). Venue of the Cases and the Motion is proper under 28
U.S.C. §§ 1408 and 1409. The statutory predicates for the relief sought herein are Bankruptcy
Code sections 105, 361, 362, 363, 364, and 507 and Bankruptcy Rules 2002, 4001, 6004, and
9014 and Local Rules 2002-1, 4001-2 and 9013-l(m).

2. M. The notice given by the Debtors of the Motion and the Interim Hearing
Was the best available under the circumstances Such notice constitutes due and sufficient notice
of the Debtors’ request for the interim relief granted herein and of the Interim Hearing under the
circumstances and complies with Bankruptcy Rules 4001(b) and (c) and Local Rules 2002-1,
4001-2 and 9013-1(m), such that no other or further notice is necessary or required.

3. Debtors’ Stipulations. Subject to the limitations thereon contained in paragraph
16 below, the Debtors admit, stipulate and agree that:

a. The Prepetition Credit Agreement
i. The Borrower, Kona Grill, Inc. (“Holdings”), and KeyBank
National Association (the “Prepetition Agent”), as administrative agent for the lenders party

thereto, including KeyBank National Association (the “Prep_etition Lenders”), are parties to that

certain Second Amended and Restated Credit Agreement, dated as of October l2, 2016 (as

 

 

 

 

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amended, restated, supplemented or otherwise modified from time to time) the “P_rep_emn
Credit Agreement”), pursuant to which the Prepetition Lenders made loans (the “he_pe_tit_igr_r
L_oa_n§”) available to the Borrower,

ii. The Prepetition Loans were guaranteed by each of the remaining
Debtors, as guarantors (together, with the Borrower, the “Prer)etition Credit Parties”).

iii. As of the Petition Date, the outstanding aggregate principal amount
Of the Prepetition Loans (including accrued interest which may be paid in kind) was
approximately $33,218,750, together with all other outstanding obligations, including all other
interest, fees and expenses, the “Prepetition Indebtedness”).

b. The Prepetition Collateral.
i. To secure the Prepetition lndebtedness, the Prepetition Credit

Parties and Prepetition Agent, as collateral agent (in such capacity, the “Prepetition Collateral
Age_nt”) entered into that certain Amended and Restated Pledge and Security Agreement, dated
as of October 12, 2016 (as amended, and together with any ancillary collateral documents, the

“Prepetition Collateral Agreement”),3 pursuant to which the Prepetition Credit Parties granted to

 

the Prepetition Collateral Agent, for the benefit of the Prepetition Collateral Agent and the
holders of Prepetition Indebtedness (collectively, the “Prepetition Secured Parties”), valid,
binding, perfected, security interests in and liens on substantially all of the Prepetition Credit
Parties’ property and assets, excluding the Excluded Property, but otherwise including, without
limitation7 (a) all accounts, including, without limitation, each and every Account Receivable; (b)
all goods; (c) all Inventory, (d) all equipment; (e) all documents; (f) all instruments; (g) all

chattel paper; (h) all money; (i) all securities accounts, together with all financial assets credited

 

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Capitalized terms used but not defined in this paragraph shall have the meanings given to them in the
Prepetition Collateral Agreement

 

 

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therein from time to time, and all financial assets, monies, securities, cash and other property
held therein or credited thereto; (j) all investment property; (k) all fixtures; (l) all as-extracted
collateral, including, without limitation, all minerals; (m) all general intangibles, including, but
not limited to, all Contract Rights; (n) all commercial tort claims, (o) all Intellectual Property; (p)
all letters of credit and letter-of-credit rights; (p) all payment intangibles; (q) all Pledged
Collateral; (r) all Permits; (s) all promissory notes; (t) all supporting obligations; (u) all other
items, kinds and types of personal property, tangible or intangible, of Whatever nature, and
regardless of whether the creation or perfection or effect of perfection or non-perfection of a
security interest therein is governed by the UCC of any particular jurisdiction or by any other
applicable treaty, convention, statute, law or regulation of any applicable jurisdiction; (v) all
additions, modifications, alterations, improvements, upgrades, accessions, components, parts,
appurtenances, substitutions and/or replacements of, to or for any of the foregoing; and (w) all
Proceeds and products of any and all of the foregoing (collectively, the “Prepetition Collateral”).

c. The Prepetition Indebtedness constitutes the legal, valid and binding
obligations of the Prepetition Credit Parties, enforceable against them in accordance with their
respective terms (other than in respect of the stay of enforcement arising from Bankruptcy Code
section 362), and no portion of the Prepetition Indebtedness is subject to avoidance,
recharacterization, reduction, set off, offset, counterclaim, cross-claim, recoupment, defenses,
disallowance, impairment, recovery, subordination or any other challenges pursuant to the
Bankruptcy Code or applicable nonbankruptcy law or regulation by any person or entity. The
Debtors are jointly and severally liable to the Prepetition Lenders on account of the Prepetition

Loans.

 

 

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d. The liens on the Prepetition Collateral securing the Prepetition
Indebtedness (the “Prepetition Liens”) constitute legal, valid, binding, enforceable (other than in
respect of the stay of enforcement arising from Bankruptcy Code section 362) and perfected
security interests and liens on the Prepetition Collateral, were granted to, or for the benefit of, the
Prepetition Secured Parties, as applicable, for fair consideration and reasonably equivalent value
and are not subject to defense, counterclaim, recharacterization, subordination or avoidance
pursuant to the Bankruptcy Code or applicable nonbankruptcy law or regulation by any person or
entity.

4. Findings Regarding the Financing and Use of Cash Collateral.

a. Good cause has been shown for the entry of this Interim Order.

b. The Debtors have an immediate and critical need to obtain the
Financing and to use Cash Collateral as well as other Collateral to continue the operation of their
businesses Without such funds, the Debtors will not be able to meet their payroll obligations or
to pay operating and other expenses during this critical period. The ability of the Debtors to
finance their operations through the incurrence of new indebtedness is vital to the preservation
and maintenance of the going concern value of the Debtors’ estates and necessary to avoid
immediate and irreparable harm to the estates.

c. The Debtors are unable to obtain sufficient financing on more favorable
terms from sources other than the DIP Lender under the DIP Documents and are unable to obtain
adequate unsecured credit allowable under Bankruptcy Code section 503(b)(l) as an

administrative expense The Debtors are also unable to obtain secured credit allowable solely

under Bankruptcy Code sections 364(c)(l), 364(0)(2), and 364(c)(3).

 

 

 

 

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d. The DIP Agent and the DIP Lender are willing to provide the
Financing, and the Prepetition Secured Parties are willing to consent .to the use of their Cash
Collateral, subject to the terms and conditions set forth in the DIP Documents and the provisions
of this Interim Order, as applicable, including the roll up and conversion of the Prepetition Loans
into the DIP Loans, and provided that the DIP Liens (as defined below), the Superpriority Claims
and other protections granted by this Interim Order and the DIP Docurnents will not be affected
by any subsequent reversal or modification of this Interim Order or any other order, as provided
in Bankruptcy Code section 364(e), which is applicable to the Financing and the Cash Collateral
use approved by this Interim Order. The DIP Agent and the DIP Lender have acted in good faith
in agreeing to provide the Financing approved by this Interim Order and to be further evidenced
by the DIP Documents, and the Prepetition Secured Parties have acted in good faith in
consenting to the Debtors’ use of their Cash Collateral pursuant to the terms of this Interim
Order, and their reliance on the assurances referred to above is in good faith.

e. The conversion, or roll up, of the Prepetition Loans into the DlP Loans
is compensation for, in consideration for, and solely on account of, the agreement of the DIP
Lender to fund amounts under the DIP Credit Agreement, and not as payments under, adequate
protection fora or otherwise on account of the Prepetition Loans. The roll up of the Prepetition
Loans into DIP Obligations is subject to the reservation of rights in paragraph 16 of this Interim
Order and will not prejudice the rights of any party in interest.

f. Arnong other things, entry of this Interim Order will minimize
disruption of the Debtors’ businesses and operations by enabling them to meet payroll and other
critical expenses, including vendor and estate professional fees. The Financing and the use of

Cash Collateral as set forth herein are vital to avoid immediate and irreparable loss or harm to the

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Debtors’ estates, which will otherwise occur if immediate access to the Financing and to the use
of Cash Collateral is not obtained. Consummation of the Financing and the use of Cash
Collateral pursuant to the terms of this Interim Order therefore are in the best interests of the
Debtors’ estates.

g. The DIP Docurnents and the Financing contemplated thereunder, and
the use of Cash Collateral, each as authorized hereunder, have been negotiated in good faith and
at arm’s length among the Debtors, the DIP Agent and the DIP Lender, and the Prepetition
Secured Parties, respectively, among others, and the terms of the Financing and the use of Cash
Collateral, respectively, are fair and reasonable under the circumstances, reflect the Debtors’
exercise of prudent business judgment consistent with their fiduciary duties and are supported by
reasonably equivalent value and fair consideration All of the Debtors’ obligations and
indebtedness arising under, in respect of or in connection with the Financing and the DIP
Documents, including the Obligations (as defined in the DlP Credit Agreement, collectively, the
“DIP Obligations”), shall be deemed to have been extended by the DIP Agent and the DIP
Lender and their affiliates in good faith, as that term is used in Bankruptcy Code section 364(e),
and in express reliance upon the protections offered by Bankruptcy Code section 364(e) in the
event that this Interim Order is reversed or modified on appeal.

h. The Debtors have requested immediate entry of this Interim Order
pursuant to Bankruptcy Rules 4001(b)(2) and (c)(2) and Local Rule 4001-2(b). The
authorization granted herein on an interim basis to use Cash Collateral and to enter into the DIP
Documents and to borrow up to an aggregate principal amount of $2,500,000 in the Interim
Period is necessary to avoid immediate and irreparable harm to the Debtors and their estates.

This Court concludes that entry of this Interim Order is in the best interests of the Debtors and

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their estates and creditors as its implementation will, among other things, allow the Debtors to
facilitate their chapter 11 goals and maximize the value of their assets.

i. To the extent necessary, the Prepetition Secured Parties have consented
to the Financing and the Debtors’ use of the Prepetition Collateral, including Cash Collateral.
This Court concludes that the adequate protection provided to the Prepetition Secured Parties
hereunder for, among other things, the Debtors’ incurrence of the DIP Obligations on a priming
basis, as described herein, and the Debtors’ use of Prepetition Collateral, including Cash
Collateral, is consistent with and authorized by Bankruptcy Code sections 361, 362, 363, and
364.

5. Authorization of the Financing and the DIP Documents.

a. The Debtors are hereby authorized and directed to execute, issue,
deliver, enter into, and adopt, as the case may be, the DIP Credit Agreement and the other DIP
Documents to be delivered pursuant hereto or thereto or in connection herewith or therewith.

b. In furtherance of the foregoing and without further approval of this
Court, each Debtor is authorized and directed to perform all acts, to make, execute, and deliver
all instruments and documents (including, without limitation, the execution or recordation of
security agreements, control agreements, and financing statements), and, without filrther
application to the Court, to promptly pay all fees referred to in this Interim Order, the DIP Credit
Agreement and DIP Documents, including, without limitation, all reasonable fees and expenses
paid, payable or incurred prior to the date hereof and/or the Petition Date and the reasonable fees
and expenses of the professionals of the DIP Agent and the DIP Lender, Buchanan Ingersoll &
Rooney, PC and Morris Anderson (the “DIP Lender’s Professional Fees and Expenses”). After

entry of this Interim Order, the Debtors shall pay the DIP Lender’s Professional Fees and

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Expenses within ten (10) Business Days (if no written objection is received within such ten (10)
Business Days’ period) after such Professional has delivered an invoice, with a copy of such
invoice delivered simultaneously to the United States Trustee for the District of Delaware (the
“U.S. Trustee”), and counsel to the official committee of unsecured creditors if appointed (the
“Committee”). Written objections to payment of the DlP Lender’s Professional Fees and
Expenses, which may only be asserted by the Debtors, the U.S. Trustee and the Committee (if
appointed), must contain a specific basis for the objection and quantification of the undisputed
amount of the fees and expenses invoiced. None of the DIP Lender’s Professional Fees and
Expenses shall be subject to Court approval or required to be maintained in accordance with the
U.S. Trustee Guidelines and no recipient of any such payment shall be required to file with
respect thereto any interim or final fee application with the Court; provided however, if an
objection to a Professional’s invoice is timely received, the Debtors shall only be required to pay
the undisputed amount of the invoice and the Court shall have jurisdiction to determine the
disputed portion of such invoice if the parties are unable to resolve the dispute.

c. Subject to the provisions contained in paragraph 19 hereof, the Debtors
are further hereby authorized to execute, deliver, and perform one or more amendments or
modifications to the DIP Docurnents for, among other things, the purpose of adding additional
financial institutions as DIP Lender and reallocating the commitments for the Financing among
the DIP Lender (but without in any manner limiting or altering the obligations of the DIP Lender
to the Debtors under this Interim Order or the DlP Documents, or the rights of the Debtors
hereunder or thereunder), in each case in such form as the Debtors and the Required Lenders

may agree (it being understood that no further approval of this Court shall be required for non-

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material amendments to the DIP Credit Agreement or modifications of the Budget pursuant to
the terms of paragraph 9 hereof).

d. Subject to the provisions of paragraph 16 below, upon entry of this
Interim Order, the amount of $2,500,000 of the aggregate principal amount of Prepetition Loans
shall be immediately rolled-up and converted into DIP Obligations and become a Roll Up Loan
under the DIP Credit Agreement. From and after entry of this Interim Order, the Prepetition
Loans shall be rolled up into DIP Obligations on a creeping basis. Each Wednesday, the Debtors
shall report to the Agent and its counsel the amount of actual cash disbursements made the
immediately preceding week, and Roll Up Loans shall be issued on a dollar for dollar basis
based on such cash disbursements Following entry of the Final Order, the entire remaining
outstanding balance of the Prepetition Loans shall be rolled up and converted into Roll Up Loans
under the DIP Facility.

e. Upon execution and delivery of the DIP Documents, the DIP
Documents shall constitute valid and binding obligations of the Debtors, enforceable against
each Debtor party thereto in accordance with their terms subject to the terms of this Interim
Order.

f. The Interim Term Loan and the Delayed Draw Term Loans (both as
defined in the DIP Credit Agreement) shall have priority over the Roll Up Loans (as defined in
the DIP Credit Agreement), including with respect to (x) the Liens and Superpriority Claims
granted hereunder, and (y) as set forth in the DIP Credit Agreement, with respect to application

of proceeds

6. Superpriorig Claims.

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a. Pursuant to Bankruptcy Code Section 364(0)(1), all of the DIP
Obligations shall constitute allowed claims against the Debtors With priority over any and all
administrative expenses, diminution claims (including all Adequate Protection Provisions
(defined below)) and all other claims against the Debtors, now existing or hereafter arising, of
any kind whatsoever, including, without limitation, all administrative expenses of the kind
specified in Bankruptcy Code sections 503(b) and 507(b), and over any and all administrative
expenses or other claims arising under Bankruptcy Code sections 105, 326, 328, 330, 331,
503(b), 506(c) (subject to entry of the Final Order), 507(a), 507(b), 726, 1113 or 1114
(the “Superpriority Claims”), whether or not such expenses or claims may become secured by a
judgment lien or other non-consensual lien, levy or attachment, which allowed claims shall be
payable from and have recourse to all prepetition and postpetition property of the Debtors and
their estates and all proceeds thereof, subject to only to the Carve Out; provided however, that
the Superpriority Claims shall apply with respect to the proceeds of Avoidance Actions only
upon entry of the Final Order.

b. Carve Out. As used in this Interim Order, the “Carve Out” means the
sum of (i) all fees required to be paid to the Clerk of the Court and to the Office of the United
States Trustee under section 1930(a) of title 28 of the United States Code plus interest at the
statutory rate (without regard to the notice set forth in (iii) below); (ii) all reasonable fees and
expenses up to $25,000 incurred by a trustee under section 726(b) of the Bankruptcy Code
(without regard to the notice set forth in (iii) below); (iii) unpaid fees and expenses
(the “Allowed Professional Fees”) incurred by persons or firms retained by the Debtors pursuant
to section 327, 328, or 363 of the Bankruptcy Code (the “Debtor Professionals”) and the

Committee pursuant to section 328 or 1103 of the Bankruptcy Code (the “Committee

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Professionals” and, together with the Debtor Professionals, the “P_rc;`eMl’eMn§”) incurred
prior to the receipt of a Carve Out Trigger Notice (defined below) to the extent such fees and
expenses of the Professional Persons are (a) within the amounts set forth in the Budget approved
by the DIP Lender, (b) subsequently allowed by the Bankruptcy Court under sections 330, 331,
or 363 of the Bankruptcy Code or other Court order (excluding “ordinary course professionals”),
and (c) not otherwise paid from the Collateral or from retainers or any professional expense
escrow account established by the Debtors; and (iv) Allowed Professional Fees incurred from
and after delivery of a Carve Out Trigger Notice or the occurrence of the Cash Collateral
Termination Date in an amount not to exceed $200,000.00 (the “Post-Carve Out Trigger Notice
Qp”). For purposes of the foregoing, “Carve Out Trigger Notice” shall mean a written notice
delivered by email (or other electronic means) by the DIP Agent to the Debtors, their counsel,
the U.S. Trustee, and counsel to the'Committee, which notice may be delivered following the
occurrence and during the continuation of an Event of Default and acceleration of the DIP
Obligations under the DIP Facility, stating that the Post-Carve Out Trigg_er Notice Cap has been
invoked.

c. No Direct Obligation To Pay Allowed Professional Fees. None of
the DIP Agent or DIP Lender shall be responsible for the payment or reimbursement of any fees
or disbursements of any Professional Person incurred in connection with the Chapter 11 Cases or
any successor cases under any chapter of the Bankruptcy Code. Nothing in this Interim Order or
otherwise shall be construed to obligate the DIP Agent or the DIP Lender, in any way, to pay
compensation to, or to reimburse expenses of, any Professional Person or to guarantee that the
Debtors have sufficient funds to pay such compensation or reimbursement

7. DIP Liens.

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a. As security for the DIP Obligations, effective and perfected
automatically upon the date of this Interim Order and without the necessity of the execution by
the Debtors (or recordation or other filing) of security agreements, control agreements, pledge
agreements, financing statements, mortgages, or other similar documents, or the possession or
control by the DIP Agent of any Collateral (as defined below), the following security interests
and liens (all such liens and security interests granted to the DIP Agent, for its benefit and for the
benefit of the DIP Lender, pursuant to this Interim Order and the DIP Documents, the “D_IP
Li_en_s”) are hereby granted to the DIP Agent, for its own benefit and the benefit of the DIP
Lender (subject and subordinate to the Carve Out and Permitted Liens): all tangible and
intangible prepetition and postpetition property and interests in property of the Debtors, whether
existing on or as of the Petition Date or thereafter acquired, including, without limitation, (i) all
accounts, chattel paper, deposit accounts, documents, equipment, general intangibles, intellectual
property, instruments, insurance, inventory, investment property, letter-of-credit rights, money
and any supporting obligations related thereto; (ii) all commercial tort claims; (iii) all books and
records pertaining to the Collateral; (iv) all property of any Credit Party held by the DIP Agent,
the DIP Lender, or any Prepetition Secured Party, including all property of every description, in
the custody of or in transit to the DIP Agent, the DlP Lender or any Prepetition Secured Party for
any purpose, including safekeeping, collection or pledge, for the account of such Credit Party or
as to which such Credit Party may have any right or power, including, but not limited to cash; (v)
all other goods (including, but not limited to fixtures) and personal property of the Credit Parties,
whether tangible or intangible and wherever located; (vi) all owned or leased real estate and real
property leaseholds (provided, however, that With respect to the Debtors’ leases of non-

residential real property, the DIP Liens shall attach only to proceeds of such leases); and (vii) all

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proceeds of the foregoing (the “Postpetition Collateral”), plus all Prepetition Collateral
(collectively, the “Collateral”). Subject to and effective only upon entry of the Final Order, the
Postpetition Collateral shall include the proceeds or property recovered, unencumbered or
otherwise the subject of successful Avoidance Actions, whether by judgment, settlement or
otherwise.

b. The DIP Liens shall be senior priming liens on the Prepetition
Collateral senior to all Prepetition Liens thereon and any Adequate Protection Liens (as defined
below) thereon, but subject to (i) the Carve Out, and (ii) Permitted Liens that are valid, binding,
perfected and unavoidable as of the Petition Date (other than the Prepetition Liens) and which
are entitled to priority over the Prepetition Liens (iii) valid, perfected and non-avoidable liens in
existence as of the Petition Date or which are entitled to priority over the Prepetition Liens, and
(iv) valid liens in existence as of the Petition Date that are perfected thereafter to the extent
permitted by Bankruptcy Code section 546(b) which are entitled to priority over the Prepetition
Liens.

8. Remedies.

a. The automatic stay provisions of Bankruptcy Code section 362 are
vacated and modified to the extent necessary to permit the DIP Agent and DIP Lender to
exercise, upon not less than three (3) Business Days’ prior written notice (which can be by
electronic mail or fax) to counsel to (i) the Debtors, the (ii) Committee and (iii) the Office of the
US 'l`rustee following the occurrence and continuance of an Event of Default (as defined in the
DIP Credit Agreement), all rights and remedies hereunder and under the DIP Documents against
the Debtors and/or the Collateral (including, without limitation, the right to set off monies of the

Debtors in accounts maintained or controlled by the DIP Agent or any DIP Lender); provided,

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however, that the DIP Agent may only enter onto any leased premises of any Debtor after an
Event of Default in accordance with (i) a separate written agreement by and between the DlP
Agent and any applicable landlords, (ii) any landlord waiver or similar agreement existing as of
the Petition Date, (iii) applicable non-bankruptcy law, or (iv) a further order of this Court after
notice and a hearing.

b. ln the absence of a further order of this Court, and notwithstanding
anything herein or in the DIP Documents to the contrary, the Debtors’ rights to use Cash
Collateral pursuant to this Interim Order shall terminate upon the earlier to occur of (i) three (3)
Business Days’ written notice (that can be given by electronic mail or fax) provided by the DIP
Agent to the Debtors (and their counsel) or provided by the Debtors to the DIP Agent of the
occurrence and continuance of any Event of Default under the DIP Facility or (ii) repayment by
the Debtors of all Obligations under the DIP Facility indefeasibly in full in cash (the “M

Collateral Terrnination Date”). Notwithstanding the foregoing, the Debtors’ rights to use Cash

 

Collateral shall immediately terminate (without notice from the DIP Agent) at the time that any
Debtor has actual knowledge of an Event of Default if the Debtors fail to promptly notify the
DIP Agent of such Event of Default.

9. Approved Budget and Access to Debtors.

a. For purposes of this Interim Order, the term “B_udge_t” means the
budget, attached hereto as Exhibit 1, the “ nitial Budget,” as such Initial Budget shall be
amended, supplemented, and/or extended in the manner set forth herein and in the DIP
Documents.

b. On the first Wednesday of the week after the Interim DIP Order Entry

Date, the Debtors shall deliver to the DlP Agent a variance report (the “First Variance Report”).

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The First Variance Report shall measure performance against the first week of the Budget and
show actuals and variances for cash receipts and disbursements made the preceding week,
including a calculation whether the Borrower is in compliance with the Permitted Variance (as
defined in the DIP Credit Agreement).

c. On the second Wednesday of the week after the Interim DIP Order
Entry Date, the Debtors shall deliver to the DIP Agent a second variance report (the “§eLnd
Variance Report”). The Second Variance Report shall measure performance against the first and
Second weeks of- the Budget and show actuals and variances for cash receipts and disbursements
made the preceding week, including a calculation whether the Borrower is in compliance with
the Permitted Variance.

d. On the third Wednesday of the week after the Interim DIP Order Entry
Date, the Debtors shall deliver to the DlP Agent a third variance report (the “Third Variance
R_e_Mt”). The Third Variance Report shall measure performance against the first, second and
third weeks of the Budget and show actuals and variances for cash receipts and disbursements
made the preceding week and including calculation whether the Borrower is in compliance with
the Permitted Variance in the aggregate for the prior three weeks.

e. On the fourth Wednesday of the week after the Interim DlP Order
Entry Date, the Debtors shall deliver to the DIP Agent a fourth variance report (the “fLrt_h
Variance Report”). The Fourth Variance Report shall measure performance against the first,
second, third and fourth weeks of the Budget and show actuals and variances for cash receipts
and disbursements made the preceding week (excluding fees paid to professionals) and including
calculation whether the Borrower is in compliance With the Permitted Variance in the aggregate

for the prior four weeks.

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f. Thereafter, on each successive Wednesday, the Debtors shall deliver to
the DIP Agent a variance report (the “Rolling Variance Report”). The Rolling Variance Report
shall demonstrate that total disbursements (and, for the avoidance of doubt, not cash receipts) for
the four-week rolling period do not exceed the Permitted Variance.

g. The Debtors shall be available, and cause their restructuring
professionals, financial consultants and investment bankers to be available, for calls and
meetings with the DIP Lender (and its advisors) at its reasonable request, and in any event no
less frequently than weekly, at which such meetings the Debtors and its professionals shall
provide regular updates to the DIP Lender with respect to the Credit Parties and their business
and assets, including the Milestones (it being understood that the financial consultants and
investor bankers shall not be required to disclose the identity of the potential buyers of the
Company’s assets or other confidential information).

10. Limitation on Charging Expenses Against Collateral. Subject to and effective
only upon entry of the Final Order, except to the extent of the Carve Out, no expenses of
administration of the Cases or any future proceeding that may result therefrom, including a case
under chapter 7 of the Bankruptcy Code, shall be charged against or recovered from the
Collateral pursuant to Bankruptcy Code section 506(0), the enhancement of collateral provisions
of Bankruptcy Code section 552, or any other legal or equitable doctrine (including, without
limitation, unjust enrichment) or any similar principle of law, without the prior written consent of
the DIP Lender, and no consent shall be implied from any action, inaction or acquiescence by the
DIP Agent, the DIP Lender or the Prepetition Secured Parties. Subject to and effective only upon
entry of the Final Order, in no event shall the DIP Agent, the DIP Lender, or the Prepetition

Secured Parties be subject to (i) the “equities of the case” exception contained in Bankruptcy

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Code section 552(b) or (ii) the equitable doctrine of “marshaling” or any other similar doctrine
with respect to the Collateral.

11. Cash Collateral. Subject to the terms of this Interim Order and the Budget, the
Debtors are hereby authorized to use all “cash collateral” within the meaning of Bankruptcy
Code section 363(a) in which the Prepetition Collateral Agent or any other Prepetition Secured
Party has a perfected security interest as of the Petition Date or at any time thereafter, including
any cash on deposit in any deposit account or other account over which the Prepetition Collateral
Agent has control, and including any cash proceeds of Collateral (collectively, the “@
Collateral”).

12. Prepetition Secured Parties’ Adequate Protection. Pending the full roll up of
the Prepetition Loans, the Prepetition Secured Parties are entitled, pursuant to Bankruptcy Code
sections 361, 363(e) and 364(d)(l), to adequate protection of their respective interests in the
Prepetition Collateral, including Cash Collateral, for any diminution in the value of their
respective interests in the Prepetition Collateral, including, Without limitation, any such
diminution resulting from the sale, lease or use by the Debtors (or other actual consumption) of
Cash Collateral and any other Prepetition Collateral, the priming liens on the Prepetition
Collateral granted to the DIP Agent and the DIP Lender pursuant to the DIP Documents and this
Interim Order, and the imposition of the automatic Stay pursuant to Bankruptcy Code section
362, and in each case to the extent required by the Bankruptcy Code (each, a “Diminution
Qlaim”). As adequate protection for such Diminution Claims, the Prepetition Collateral Agent is
granted, for the benefit of the respective Prepetition Secured Parties, nunc pro tunc to the
Petition Date, the following adequate protection (collectively, the “Adeguate Protection

Provisions”):

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a. Retention of Liens. The Prepetition Secured Parties will, subject to the
terms of this Interim Order and the Final Order, maintain the Prepetition Liens on the Collateral,
which liens shall be junior and subordinate to (i) the DlP Liens, (ii) the Carve Out (iii) valid,
perfected and non-avoidable liens in existence as of the Petition Date which are entitled to
priority over the Prepetition Liens, and (iv) valid liens in existence as of the Petition Date that are
perfected thereafter to the extent permitted by Bankruptcy Code section 546(b) which are
entitled to priority over the Prepetition Liens.

b. Adequate Protection Liens. The Prepetition Collateral Agent, for
itself and for the benefit of the Prepetition Secured Parties, is hereby granted valid and perfected
replacement security interests in and liens on the Postpetition Collateral which liens shall be
junior and subordinate to (i) the DlP Liens, (ii) the Carve Out (iii) valid, perfected and non-
avoidable liens in existence as of the Petition Date which are entitled to priority over the
Prepetition Liens, and (iv) valid liens in existence as of the Petition Date that are perfected
thereafter to the extent permitted by Bankruptcy Code section 546(b) which are entitled to
priority over the Prepetition Liens (the “Adequate Protection Liens”).

c. Section 507gb) Claim. To the extent that the Adequate Protection
Liens and other forms of adequate protection granted pursuant to this Interim Order are
insufficient as adequate protection for a Prepetition Secured Party’s Diminution Claim, and
pursuant to Bankruptcy Code section 507(b), such Prepetition Secured Party is hereby granted,
subject and subordinate to the payment of the Carve Out and DIP Claims, a Superpriority Claim.

13. Credit Bid. Subject to entry of the Final Order, the DIP Lender and the
Prepetition Secured Parties shall have the right to credit bid in connection with any proposed sale

of the Collateral, subject to and in accordance with Bankruptcy Code section 363(k), up to the

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full amount of the DIP Facility and the Prepetition lndebtedness. Each of the DIP Agent, on
behalf of the DIP Lender, and the Prepetition Secured Parties shall be considered a “Qualified
Bidder” with respect to its rights to acquire any or all assets by credit bid.

14. Perfection of DIP Liens.

a. The DIP Agent, on behalf of the DIP Lender, is hereby authorized, but
not required, to file or record financing statements, intellectual property filings, mortgages,
notices of lien or similar instruments in any jurisdiction, take possession or control over, or take
any other action in order to validate and perfect the liens and security interests granted to them
hereunder Whether or not the DIP Agent chooses to file such financing statements, intellectual
property filings, mortgages, notices of lien or similar instruments, take possession of or control
over, or otherwise confirm perfection of the liens and security interests granted to it hereunder,
such liens and security interests shall be deemed valid, perfected, allowed, enforceable, non-
avoidable and not subject to challenge, dispute or subordination immediately upon entry of this
Interim Order, but subject in all respects to the provisions of paragraph 16 of this Interim Order.

b. A certified copy of this Interim Order may, in the discretion of the DIP
Agent, be filed with or recorded in filing or recording offices in addition to or in lieu of such
financing statements, mortgages, notices of lien or similar instruments, and all filing offices are
hereby authorized to accept such certified copy of this Interim Order for filing and recording

c. The Debtors shall execute and deliver to the DIP Agent all such
agreements, financing statements, instruments and other documents as the DIP Agent may
reasonably request to evidence, confirm, validate or perfect the DIP Liens or the Adequate
Protection Liens.

15. Preser'vation of Rights Granted Under the Order.

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a. Except as expressly provided herein or in the DIP Credit Agreement, no
claim or lien having a priority senior to or pari passu with those granted by this Interim Order to
the DIP Agent or the DIP Lender shall be granted or allowed while any portion of the DIP
Obligations remains outstanding, and the DIP Liens shall not be subject to or junior to any lien or
security interest that is avoided and preserved for the benefit of the Debtors’ estates under
Bankruptcy Code section 551 or subordinate to or made pari passu with any other lien or
security interest, whether under Bankruptcy Code section 364(d) or otherwise

b. Unless all DIP Obligations shall have been indefeasibly paid in full in
cash, the Debtors shall not seek, and it shall constitute an Event of Default under the DIP Credit
Agreement if any of the Debtors seek, or if there is entered (i) any stay, vacatur, rescission, or
modification of this Interim Order without the prior written consent of the DIP Agent (not to be
unreasonably withheld), and no such consent shall be implied by any other action, inaction, or
acquiescence by the DIP Agent, or (ii) an order converting the Cases to cases under chapter 7 of
the Bankruptcy Code or dismissing any of the Cases. If an order dismissing any of the Cases
under Bankruptcy Code section 1112 or otherwise is at any time entered, such order shall
provide (in accordance with Bankruptcy Code sections 105 and 349) that (x) the Superpriority
Claims and other administrative claims granted under this Interim Order, the DIP Liens and the
Adequate Protection Liens shall continue in full force and effect and shall maintain their
priorities as provided in this Interim Order until all DIP Obligations and all Diminution Claims
shall have been paid and satisfied in full (and that such Superpriority Claims, the other
administrative claims granted under this Interim Order, the DIP Liens and the Adequate

Protection Liens shall, notwithstanding such dismissal, remain binding on all parties in interest)

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and (y) this Court shall retain jurisdiction notwithstanding such dismissal, for the purposes of
enforcing the claims, liens, and security interests referred to in clause (x) above.

c. lf any or all of the provisions of this Interim Order are hereafter
reversed or modified on appeal, such reversal or modification shall not affect the validity of the
DIP Loans or the priority of the DIP Liens or Adequate Protection Liens, unless a stay pending
appeal has been obtained. The DIP Agent, the DIP Lender, and the Prepetition Secured Parties
shall be entitled to all of the rights, remedies, privileges and benefits granted in Bankruptcy Code
section 364(e).

d. Except as expressly provided in this Interim Order or in the DIP
Documents, the DIP Liens, the Superpriority Claims, the Adequate Protection Provisions and all
other rights and remedies of the DIP Agent, the DIP Lender or the Prepetition Secured Parties
granted by the provisions of this Interim Order and the DlP Documents shall survive, and shall
not be modified, impaired, or discharged by the entry of an order converting any of the Cases to
a case under chapter 7 of the Bankruptcy Code or dismissing any of the Cases or by any other act
or omission, or (ii) the entry of an order confirming a plan of reorganization or liquidation in any
of the Cases. The terms and provisions of this Interim Order and the DIP Documents shall
continue in the Cases, in any successor cases if the Cases cease to be jointly administered, or in
any superseding chapter 7 cases under the Bankruptcy Code, and the DIP Liens, the Adequate
Protection Liens, the DIP Obligations, the Superpriority Claims and all other administrative
claims granted pursuant to this Interim Order and all other rights and remedies of the DIP Agent,
the DIP Lender and the Prepetition Secured Parties granted by the provisions of this Interim
Order and the DIP Documents shall continue in full force and effect until all DIP Obligations, all

Diminution Claims are indefeasibly paid in full in cash.

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16. Effect of Stipulations On Third Parties. The stipulations and admissions
contained in paragraph 3 of this lnterirn Order shall be binding on all parties in interest,
including, without limitation, the Debtors and the Committee, unless an adversary proceeding or
other appropriate contested matter has been commenced against the Prepetition Secured Parties
in connection with any matter related to the Prepetition Indebtedness Documents or the
Prepetition Collateral (any such claim, a “Challenge”), (i) if by the Committee by no later than
sixty (60) days from the date of formation of Such Committee, and (ii) if by another party in
interest, by no later than seventy-five (75) days from the date of entry of this Interim Order,
subject to further extension by written agreement of the Debtors, DIP Agent, and the Prepetition
Secured Creditors (the “Challenge Period” and the date of expiration of the Challenge Period
being the “Challemze Period Termination Date”). lf no such Challenge is timely filed, then
(x) Prepetition Indebtedness shall constitute allowed claims, not subject to counterclaim, setoff,
subordination, recharacterization, defense or avoidance for all purposes in the Cases and any
subsequent chapter 7 case, (y) the Prepetition Collateral Agent’s liens on the Prepetition
Collateral shall be deemed to have been, as of the Petition Date, and to be, legal, valid, binding,
perfected and of the priority specified in paragraph 3 hereof, not subject to defense,
counterclaim, recharacterization, subordination or avoidance, and (z) the Obligations under the
Prepetition Indebtedness Documents and the liens of the Collateral Agent on the Prepetition
Collateral shall not be subject to any other or further challenge by the Debtors, any committee or
any Other party in interest, each of whom shall be enjoined from seeking to exercise the rights of
the Debtors’ estates, including, without limitation, any successor thereto (including, without
limitation, any estate representative or a chapter 7 or chapter 11 trustee appointed or elected for

any of the Debtors With respect thereto). If any Such adversary proceeding or contested matter is

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timely filed, the stipulations and admissions contained in paragraph 3 of this interim Order shall
nonetheless remain binding and preclusive (as provided in the second sentence of this paragraph)
on the Debtors, any committee and any other person or entity, except as to any such findings and
admissions that were expressly and successfully challenged in such timely filed adversary
proceeding or contested matter. Nothing in this Interim Order vests or confers on any Person (as
defined in the Bankruptcy Code), including any committee, standing or authority to pursue any
cause of action belonging to the Debtors or their estates, including, without limitation, claims
and defenses with respect to the Prepetition Indebtedness Documents or the liens of the
Prepetition Collateral Agent on the Prepetition Collateral. For the avoidance of doubt, any
trustee appointed or elected in these Chapter ll Cases shall, until the expiration of the period
provided herein for asserting Challenges, and thereafter for the duration of any adversary
proceeding or contested matter commenced pursuant to this paragraph (whether commenced by
such trustee or commenced by any other party in interest on behalf of the Debtors’ estates), be
deemed to be a party other than the Debtors and shall not, for purposes of such adversary
proceeding or contested matter, be bound by the acknowledgments, admissions, confirmations
and stipulations of the Debtors in this Interim Order.

17. Limitation on Use of Financing Proceeds and Collateral. Notwithstanding
anything herein or in any other order by this Court to the contrary, without the prior written
consent, as applicable, of the DIP Agent or the Prepetition Collateral Agent, none of the DIP
Obligations, the Cash Collateral, Collateral, or the Carve Out may be used for the following
purposes: (i) to challenge or investigate the validity, perfection, priority, extent or enforceability
of the DIP Credit Agreement or the Prepetition Indebtedness Documents or the liens or security

interest securing the obligations under any of the foregoing or to pursue any causes of action of

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any kind against the DIP Agent or the DIP Lender (except that, if a Committee is appointed, up
to $25,000 of Cash Collateral may be used by such Committee for purposes of such
investigation); or (ii) to object to, contest, delay, prevent or interfere with in any way the exercise
of rights and remedies by the DIP Agent,

18. Milestones under the DIP Credit Agreement. Pursuant to the DIP Credit
Agreement, failure of the Credit Parties to perform each action with respect to the Cases as set
forth below within the time periods set forth below (the “Milestones”) shall constitute an Event
of Default (as defined in the DIP Credit Agreement) and, subject to paragraph 8, result in the
automatic termination of the Debtors’ authority to use Cash Collateral under this Interim Order
and permits the DIP Agent, on behalf of the DIP Lender, to exercise the rights and remedies
provided for in this Interim Order and the DIP Documents:;

a. On the Petition Date, the Credit Parties shall file a motion to reject certain
leases effective as of the Petition Date (“Lease Rejection Motion”);

b. On or before May 7, 2019, the Bankruptcy Court shall have entered the
Interim DIP Order;

c. On or before May 13, 2019, the Credit Parties shall file a motion seeking
approval of the Sale Process, including approval of a stalking horse bid acceptable to the
Lenders;

d. On or before May 30, 2019, the Bankruptcy Court shall have entered
the Final DIP Order;

e. On or before May 30, 2019, the Lease Rejection Motion shall have

been approved by order of the Bankruptcy Court;

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f. On or before May 30, 2019, the Bankruptcy Court shall have entered
the Bidding Procedures Order, in form and substance acceptable to the Lenders;

g. On or before July 26, 2019, an auction (to the extent necessary) for the
sale of all or substantially all of the Credit Parties’ assets shall have occurred (the “w”);

h. On or before July 30, 2019, the Bankruptcy Court shall have entered an
order, in form and substance acceptable to the Lenders, approving the Sale;

i. On or before August 9, 2019, the Sale shall have closed.
lf the Borrower fails to satisfy any Milestone it shall be an Event of Default under the DIP Credit
Agreement, unless such Milestone is waived, modified, or extended by the DIP Agent in writing
in its sole discretion

19. Modif"lcations of DIP Documents. The Debtors, the DIP Agent and the DIP

Lender are hereby authorized to implement, in' accordance with the terms of the respective DIP
Documents, any non-material modifications of the respective DIP Documents without further
Order of this Court, or any other modifications to the respective DIP- Documents; provided
however, that any material modification or amendment to the respective DIP Documents shall be
Subject to Court approval. The Debtors shall provide notice to the U.S. Trustee and any
Committee (if appointed) within five (5) business days following the execution of any non-
material modifications to the DIP Documents.

20. Interim Order Governs. In the event of any inconsistency between the

 

provisions of this Interim Order and the DIP Documents, the provisions of this lnterirn Order
shall govern.
21. Binding Effect; Successors and Assigns. The DIP Documents and the provisions

of this Interim Order, including all findings herein, shall be binding upon all parties in interest in

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these Cases, including, without limitation, the DIP Agent, the DIP Lender, the Prepetition
Secured Parties, any Committee appointed in these Cases and the Debtors and their respective
successors and assigns (including any chapter 7 or chapter 11 trustee hereinafter appointed or
elected for the estate of any of the Debtors) and shall inure to the benefit of the DIP Agent, the
DIP Lender, the Prepetition Secured Parties and the Debtors and their respective successors and
assigns; provided however, that the DIP Agent and the DIP Lender shall have no obligation to
extend any financing to any chapter 7 trustee or similar responsible person appointed for the
estates of the Debtors. In determining-to make any loan under the DIP Credit Agreement or in
exercising any rights or remedies as and when permitted pursuant to this lnterim Order or the
DIP Documents, the DIP Agent and the DIP Lender shall not be deemed to be in control of the
operations of the Debtors or to be acting as a “responsible person” or “owner or operator” with
respect to the operation or management of the Debtors (as such terrns, or any similar terms, are
used in the United States Comprehensive Environrnental Response, Compensation and Liability
Act, 29 U.S.C. § 9601 et seq., as amended, or any similar federal or state statute).

22. Effectiveness. This Interim Order shall constitute findings of fact and
conclusions of law and shall take effect immediately upon execution hereof, and there shall be no
stay of execution of effectiveness of this lnterim Order.

23. Final Hearing. The Final Hearing is scheduled for May QB, 2019 at wo
a.m.® (ET) before this Court. The Debtors shall promptly mail copies of this Interim Order
(which shall constitute adequate notice of the Final Hearing) to the parties having been given
notice of the Interim Hearing, and to any other party that has filed a request for notices with this
Court and to any Committee after the same has been appointed, or Committee counsel, if the

same shall have been appointed Any party in interest objecting to the relief sought at the Final

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Hearing shall serve and file written objections; which objections shall be served (with a copy to
the Court’s chambers) no later than May [j_\], 2019 at 4:00 p.m. (ET) upon: (a) the U.S. Trustee,
844 King Street, Suite 2007, Lockbox 35, Wilmington, DE 19801; (b) the Debtors, c/o 15059
North Scottsdale Road, Suite 300, Scottsdale, AZ 85254 (Attn: Christopher J. Wells, Chief
Restructuring Officer); (c) counsel to the Debtors, Pachulski Stang Ziehl & Jones LLP, 919 N.
Market Street, 17th Floor, Wilmington, DE 19801 (Attn: Jeremy V. Richards, John W. Lucas,
and James E. O’Neill); (d) Buchanan Ingersoll & Rooney, PC, 919 N. Market Street, Suite 990,
Wilmington, DE 19801 (Attn: Mary F. CaloWay); and (e) counsel to any official committee then

appointed in these Cases.

Dated: May 74 , 2019
Wilmington, Delaware

€ C<e/t/L/`

UNIrEb'sTATBs BANKRUPTCY JUDGE

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